 1 LAWRENCE J. WARFIELD
   Chapter 7 Panel Trustee
 2 PO Box 3350

 3 Carefree, AZ 85377

 4                           IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
 5
       In re
 6
       DONALDS, BONNIE LYNN
 7
                         Debtor(s)
 8
                                                        Chapter 7
 9     LAWRENCE J. WARFIELD, TRUSTEE
                                                        Bankruptcy No. 3:17-BK-02859-DPC
10                        Plaintiff
11     vs.                                              Adversary No. 3:18-ap-         DPC

12     CHRISTINA FLETCHER
       5636 MOCCASIN POINT STREET                        CHAPTER 7 TRUSTEE’S COMPLAINT
13
       LAS VEGAS, NV 89148
14
                         Defendant
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       Plaintiff, Lawrence J. Warfield, the duly appointed Chapter 7 Trustee herein (“Plaintiff”),
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       alleges for Plaintiff’s Complaint against Defendant, CHRISTINA FLETCHER (“Defendant”),
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       as follows:
18                                                  Facts
19     1.      This adversary proceeding is brought in connection with the above captioned
20     bankruptcy case pending under Chapter 7 of Title 11, United States Code (“Underlying Case”).
       2.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§
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       1334 and 157, and 11 U.S.C. § 544.
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       3.      This adversary proceeding is a core proceeding pursuant to 28 U.S.C. § 157.
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       4.      Venue is proper before this Court pursuant to 28 U.S.C. § 1409(a).
24     5.      Plaintiff is duly appointed Chapter 7 Trustee in the Underlying Case.
25     6.      Pursuant to Federal Rule of Bankruptcy Procedure 7001, a proceeding to recover

26     money or property is governed by Part VII of the Federal Rules of Bankruptcy Procedure.
       7.      Plaintiff may bring this adversary proceeding on behalf of the Bankruptcy Estate
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       pursuant to Federal Rule of Bankruptcy Procedure 6009.
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 1     8.     The Underlying Case was commenced by the filing of a Voluntary Petition by
 2     BONNIE LYNN DONALDS (“Debtors”) under Chapter 7 of Title 11, United States Code, on

 3     March 23, 2017 (“Petition Date”).
       9.     The insider preference period is March 23, 2016 thru March 23, 2017.
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       10.    Debtor indicated to the Trustee that, during the preference period, debtor paid to her
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       daughter, CHRISTINA FLETCHER, the sum of Three Thousand Five Hundred Fifty Eight
 6     Dollars ($3,558.00).
 7     11.    Debtor provided to the Trustee, a letter from CHRISTINE FLETCHER, evidencing the
 8     preferential payment received by CHRISTINE FLETCHER. (EXHIBIT A)
       12.    On January 24, 2018, Trustee mailed to CHRISTINE FLETCHER, correspondence
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       demanding return of the preference payment of $3,558.00. (EXHIBIT B)
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       13.    On February 19, 2018, Trustee mailed to CHRISTINE FLETCHER, correspondence
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       demanding return of the preference payment of $3,558.00. (EXHIBIT C).
12     14.    The payment/transfer was to or for the benefit of Defendant.
13     15.    The payment/transfer was for or on account of an antecedent debt owed by Debtor

14     before the Transfers were made.
       16.    The payment/transfer was made while Debtor was insolvent.
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       17.    The payment/transfer was made on or within one (1) year before the Petition Date.
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       18.    The payment/transfer enabled Defendant to receive more than Defendant would receive
17     in a case under Chapter 7 if the payment/transfer had not been made.
18           First Cause of Action – Avoidance of Preferential Transfers (11 U.S.C. § 547)
19     19.    Plaintiff hereby repeats, reiterates and realleges all of the foregoing allegations as if
       more fully set forth herein.
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       20.    Under 11 U.S.C. § 547(b), a trustee can avoid a transfer if the transfer: 1) was of an
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       interest of the debtor in property, 2) was to or for the benefit of a creditor, 3) was for or on
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       account of an antecedent debt, 4) was made within ninety (90) days before the filing of the
23     bankruptcy, 5) was made while the debtor was insolvent, and 6) enabled the creditor to receive
24     more than it would have received in a chapter 7 case.

25     21.    The Plaintiff may avoid the Transfers pursuant to 11 U.S.C. § 547.

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 1           Second Cause of Action – Recovery of Property Transferred (11 U.S.C. § 550)
 2     22.    Plaintiff hereby repeats, reiterates and realleges all of the foregoing allegations as if

 3     more fully set forth herein.
       23.    Pursuant to 11 U.S.C. § 550, to the extent a transfer is avoided under 11 U.S.C. § 547, a
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       trustee may recover, for the benefit of the estate, the property transferred, or the value of such
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       property, from the initial transferee of such transfer or the entity for whose benefit such
 6     transfer was made.
 7     24.    Pursuant to 11 U.S.C. § 550, the Plaintiff may recover from Defendant, for the benefit
 8     of the Bankruptcy Estate, the Transfers, or the value of the Transfers.
       WHEREFORE, Plaintiff prays that this Court find in favor of the Plaintiff as follows:
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        A.    For the entry of an order avoiding the Transfers;
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        B.    For the entry of a judgment against Defendant in an amount of $3,558.00;
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        C.    For Plaintiff’s actual costs, or in the event of default, costs in the amount of $350.00 for
12      the filing fee to file this Complaint;
13      D.    For interest at the federal district court judgment rate from the date of judgment until

14      satisfaction; and
        E.    For any other relief this Court deems just and proper.
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       RESPECTFULLY SUBMITTED this March 21, 2018
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18                                                    /s/ Lawrence J. Warfield
                                                     Lawrence J. Warfield, Trustee
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                                                      EXHIBIT A




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                                                            EXHIBIT B




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                                                             EXHIBIT C




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